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   6                           UNITED STATES DISTRICT COURT
   7                         CENTRAL DISTRICT OF CALIFORNIA
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   9       JASON C., 1                                    Case No. 5:20-cv-00766-MCS-AFM
  10                          Plaintiff,
                                                          JUDGMENT OF REMAND
  11             v.
  12       KILOLO KIJAKAZI, Acting
  13       Commissioner of Social Security,

  14                          Defendant.

  15

  16            This matter came before the Court on the Report and Recommendation of the
  17   Magistrate Judge to whom the case was referred. The Court, having accepted the
  18   Report,
  19            IT IS HEREBY ORDERED AND ADJUDGED that the decision of the
  20   Commissioner of Social Security is reversed and the matter is remanded to the
  21   Commissioner for further administrative proceedings consistent with the Report.
  22   DATED: October 25, 2021
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                                                    ____________________________________
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  24
                                                              MARK C. SCARSI
  25                                                   UNITED STATES DISTRICT JUDGE

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  27   1   Plaintiff’s name has been partially redacted in accordance with Federal Rule of Civil Procedure
       5.2(c)(2)(B) and the recommendation of the Committee on Court Administration and Case Management of
  28   the Judicial Conference of the United States.
